
248 P.3d 83 (2010)
Kevin Michael MITCHELL, Petitioner,
v.
WASHINGTON DEPARTMENT OF CORRECTIONS, Respondent.
No. 84553-1.
Supreme Court of Washington.
November 3, 2010.

ORDER
¶ 1 Department II of the Court, composed of Chief Justice Madsen and Justices Alexander, Chambers, Fahhurst and Stephens, considered at its November 2, 2010, Motion Calendar, whether review should be granted pursuant to RAP 13.4(b), and unanimously agreed that the following order be entered.
¶ 2 IT IS ORDERED:
¶ 3 That the Respondent's motion to dismiss and remand is denied. Pursuant to RAP 7.2 and 8.3, the trial court is authorized to rule on the Petitioner's motion to vacate that court's previous order. This matter shall be stayed pending the trial court's determination on the motion to vacate.
For the Court
   /s/ Madsen, C.J.
   CHIEF JUSTICE
